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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR
PRESIDENT, INC.; et al.,
                                                  Civil Action No.: 2:20-CV-00966
               Plaintiffs,

       v.

KATHY BOOCKVAR; et al.,

               Defendants.


               [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION
                         PRO HAC VICE OF MYRNA PÉREZ

        AND NOW, to wit, this _________, day of __________ 2020, upon consideration

 of the foregoing Motion for Admission Pro Hac Vice of Myrna Pérez, it is hereby ORDERED

 that this motion is GRANTED.

        AS SUCH, Myrna Pérez is hereby admitted to practice in the United States District Court

 for the Western District of Pennsylvania in the above-captioned case on behalf of Proposed

 Defendant-Intervenors Citizens for Pennsylvania’s Future and the Sierra Club.

                                             BY THE COURT:


                                             Hon. J. Nicholas Ranjan
                                             United States District Judge
